           Case 23-60775-TJ23                       Doc 1               Filed 11/01/23 Entered 11/01/23 12:40:32                                 Desc
                                                                       petition Page 1 of 11
    Fill in this information to identify your case:                                                                                        ;•:- S OFFICE
                                                                                                                               S.          rcy COURT
    United States Bankruptcy Court for the:                                                                                    NORTH             TRI.CT
                                                                                                                                  OF
                    District of
                                                                                                                        2023 HOV - I PM 12:35
    Ca2rg(If           known                                              Chapter you are filing under:
                                                                         U Chapter 7                                              vAi.]!Aq.:016144
                                                                                                                                                 - this is an
                                                                         U Chapter 11
                                                                         U Chapter 12
                                                                                                                                       CL I-6   ended filing

                                                                       ..1;ethapter 13



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                       12/22

The bankruptcy forms use you and Debtor I to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


 Part 1:    Identify Yourself

                                      About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):

 1. Your full name
                                              attkignna.
     Write the name that is on your   First name                                                          First name
     government-issued picture
     identification (for example,
     your driver's license or                  name                                                       Middle name
     passport).
                                      Last name                    I                                      Last name
     Bring your picture
     identification to your meeting
     with the trustee.                Suffix (Sr., Jr., II, Ill)                                          Suffix (Sr., Jr., II, Ill)


 2. All other names you               1     --*
                                             **14          41044
                                      First name                                                          First name
    have used in the last 8
    years
                                      Midd        me                                                      Middle name
     Include your married or
     maiden names and any                                                                                 Last name
                                          at name
     assumed, trade names and
     doing business as names.             Yc                                                              First name
                                      First name
     Do NOT list the name of any
     separate legal entity such as                                                                        Middle name
     a corporation, partnership, or   Middle name
     LLC that is not filing this
     petition.                        Last name                                                           Last name


                                      Business name (if applicable)                                       Business name (if applicable)


                                      Business name (if applicable)                                       Business name (if applicable)




  3. Only the last 4 digits of
     your Social Security                                                   0_31                          XXX       — xx—
     number or federal                                                                                    OR
     Individual Taxpayer
     Identification number                                                                                9 xx -         xx -
     (ITIN)

Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                          page 1
           Case 23-60775-TJ23                       Doc 1           Filed 11/01/23 Entered 11/01/23 12:40:32                                      Desc
                                                                   petition Page 2 of 11
Debtor 1    TC:AvJg n
             First Name   Middle Name              Last Name
                                                                                                    Case number (if known)


                                        About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):


, 4. Your Employer
     Identification Number              EIN                                                                 EIN
     (EIN), if any.

                                        EIN                                                                 EIN



  5. Where you live                                                                                         If Debtor 2 lives at a different address:




                                        Number            tirtet           Safe          m             st-
                                                                                                         Number              Street




                                        con V-S                            qSta  a 364 I 3
                                                                                     "   ZIP Code           City                                    State      ZIP Code


                                        County
                                                      cleKcide_                                             County

                                        If your mailing address is different from the one                   If Debtor 2's mailing address is different from
                                        above, fill it in here. Note that the court will send               yours, fill it in here. Note that the court will send
                                        any notices to you at this mailing address.                         any notices to this mailing address.



                                        Number          Strdet                                              Number           Street


                                        P.O. Box                                                            P.O. Box


                                        City                                 State       ZIP Code           City                                     State     ZIP Code




 6. Why you are choosing                Check one:                                                          Check one:
    this district to file for
                                        p 7Over the last 180 days before filing this petition,                     Over the last 180 days before filing this petition,
    bankruptcy
                                           I have lived in this district longer than in any                        I have lived in this district longer than in any
                                           other district.                                                         other district.

                                        D I have another reason. Explain.                                   LI I have another reason. Explain.
                                               (See 28 U.S.C. § 1408.)                                             (See 28 U.S.C. § 1408.)




  Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                           page 2
           Case 23-60775-TJ23                       Doc 1          Filed 11/01/23 Entered 11/01/23 12:40:32                                Desc
                                                                  petition Page 3 of 11

Debtor 1                                                                                        Case number (ffkoown)
             First Name   Middle Name




Part 2:    Tell the Court About Your Bankruptcy Case


7. The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
   Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
   are choosing to file
                                        •    Chapter 7
   under
                                        U Chapter 11

                                        U Chapter 12

                                        x'Chapter 13

8. How you will pay the fee         zalwill pay the entire fee when I file my petition. Please check with the clerk's office in your
                                             local court for more details about how you may pay. Typically, if you are paying the fee
                                             Ourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                             submitting your payment on your behalf, your attorney may pay with a credit card or check
                                             with a pre-printed address.

                                        U I need to pay the fee in installments. If you choose this option, sign and attach the
                                          Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                        U I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                          By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                          less than 150% of the official poverty line that applies to your family size and you are unable to
                                          pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                          Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9. Have you filed for                   CI No
   bankruptcy within the
   last 8 years?                            " Yes. District X0
                                                              ,
                                                                    - ern
                                                                    A                  When                    rgCase number 1? -           c,           Pino
                                                                                               MM    D   /YYYY

                                                   District                            When                        Case number
                                                                                               MM/ DD / YYYY

                                                   District                            When                        Case number
                                                                                               MM/ DD / YYYY




10. Are any bankruptcy                  41 No
    cases pending or being
    filed by a spouse who is            U Yes. Debtor                                                              Relationship to you
    not filing this case with                      District                            When                        Case number, if known
    you, or by a business                                                                      MM/DD / YYYY
    partner, or by an
    affiliate?
                                                   Debtor                                                          Relationship to you

                                                   District                            When                        Case number, if known
                                                                                               MM/DO / YYYY



it Do you rent your                     Z .-No. Go to line 12.
   residence?                              Yes. Has your landlord obtained an eviction judgment against you?

                                                   U No. Go to line 12.
                                                   U Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                     part of this bankruptcy petition.




  Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                 page 3
           Case 23-60775-TJ23                    Doc 1         Filed 11/01/23 Entered 11/01/23 12:40:32                              Desc
                                                              petition Page 4 of 11

Debtor 1                    n Name
                    15(GoctMiddle                      ve/c __                              Case number (if knowm
              First Name                       Last Name




Part 3:     Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor           --lo. Go to Part 4.
                                     Zr N
    of any full- or part-time
    business?                        0 Yes. Name and location of business
    A sole proprietorship is a
    business you operate as an
                                              Name of business, if any
    individual, and is not a
    separate legal entity such as
    a corporation, partnership, or
                                              Number       Street
    LLC.
    If you have more than one
    sole proprietorship, use a
    separate sheet and attach it
    to this petition.                                                                                               ZIP Code
                                                City                                                 State


                                              Check the appropriate box to describe your business:

                                               O Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                               O Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                               O Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               O Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                               O None of the above


13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
    Chapter 11 of the                choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
    Bankruptcy Code, and             are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
                                     most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
    are you a small business
                                     if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor or a debtor as
    defined by 11 U.S. C. §          0 No. I am not filing under Chapter 11.
    1182(1)?                         I:1 No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small                the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).
                                     0 Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy
                                              Code, and I do not choose to proceed under Subchapter V of Chapter 11.
                                     0 Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                               Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.




  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                  page 4
           Case 23-60775-TJ23                      Doc 1      Filed 11/01/23 Entered 11/01/23 12:40:32                            Desc
                                                             petition Page 5 of 11

Debtor 1      —roFtwahnet-
             First Name     Middle Name          Last Name
                                                                                               Case number of knows)




 Part 4:     Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


 14. Do you own or have any
     property that poses or is
     alleged to pose a threat             U Yes. What is the hazard?
     of imminent and
     identifiable hazard to
     public health or safety?
     Or do you own any
     property that needs
                                                   If immediate attention is needed, why is it needed?
     immediate attention?
     For example, do you own
     perishable goods, or livestock
     that must be fed, or a building
     that needs urgent repairs?
                                                   Where is the property?
                                                                            Number        Street




                                                                            City                                       State   ZIP Code




  Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                            page 5
           Case 23-60775-TJ23                         Doc 1       Filed 11/01/23 Entered 11/01/23 12:40:32                                          Desc
                                                                 petition Page 6 of 11

Debtor 1      - 1-Z1                                      clucz /e_                                     Case number (if known)
              First Name     Middle Name            Last Name
                                                             ,,

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                           About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
   you have received a
   briefing about credit                   You must check one:                                                 You must check one:
   counseling.
                                       ,Ei<received a briefing from an approved credit                         0 I received a briefing from an approved credit
                                           counseling agency within the 180 days before I                          counseling agency within the 180 days before I
    The law requires that you              filed this bankruptcy petition, and I received a                        filed this bankruptcy petition, and I received a
    receive a briefing about credit        certificate of completion.                                              certificate of completion.
    counseling before you file for
                                              Attach a copy of the certificate and the payment                     Attach a copy of the certificate and the payment
    bankruptcy. You must
                                              plan, if any, that you developed with the agency.                    plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you              CI I received a briefing from an approved credit                        I received a briefing from an approved credit
    cannot do so, you are not                 counseling agency within the 180 days before I                       counseling agency within the 180 days before I
    eligible to file.                         filed this bankruptcy petition, but I do not have a                  filed this bankruptcy petition, but I do not have a
                                              certificate of completion.                                           certificate of completion.
    If you file anyway, the court                                                                                  Within 14 days after you file this bankruptcy petition,
                                              Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you                                                                                     you MUST file a copy of the certificate and payment
                                              you MUST file a copy of the certificate and payment
    will lose whatever filing fee             plan, if any.                                                        plan, if any.
    you paid, and your creditors
    can begin collection activities        0 I certify that I asked for credit counseling                          I certify that I asked for credit counseling
    again.                                    services from an approved agency, but was                            services from an approved agency, but was
                                              unable to obtain those services during the 7                         unable to obtain those services during the 7
                                              days after I made my request, and exigent                            days after I made my request, and exigent
                                              circumstances merit a 30-day temporary waiver                        circumstances merit a 30-day temporary waiver
                                              of the requirement.                                                  of the requirement.

                                              To ask for a 30-day temporary waiver of the                           To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining                       requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why                     what efforts you made to obtain the briefing, why
                                              you were unable to obtain it before you filed for                     you were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                            bankruptcy, and what exigent circumstances
                                              required you to file this case.                                       required you to file this case.

                                              Your case may be dismissed if the court is                            Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a                    dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                             briefing before you filed for bankruptcy.
                                              If the court is satisfied with your reasons, you must                 If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.               still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved                         You must file a certificate from the approved
                                              agency, along with a copy of the payment plan you                     agency, along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case                     developed, if any. If you do not do so, your case
                                              may be dismissed.                                                     may be dismissed.
                                              Any extension of the 30-day deadline is granted                       Any extension of the 30-day deadline is granted
                                              only for cause and is limited to a maximum of 15                      only for cause and is limited to a maximum of 15
                                              days.                                                                 days.

                                           0 I am not required to receive a briefing about                      D I am not required to receive a briefing about
                                              credit counseling because of:                                         credit counseling because of:

                                              O Incapacity.      I have a mental illness or a mental                •   Incapacity.    I have a mental illness or a mental
                                                                 deficiency that makes me                                              deficiency that makes me
                                                                 incapable of realizing or making                                      incapable of realizing or making
                                                                 rational decisions about finances.                                    rational decisions about finances.
                                              O Disability.      My physical disability causes me                   O Disability.      My physical disability causes me
                                                                 to be unable to participate in a                                      to be unable to participate in a
                                                                 briefing in person, by phone, or                                      briefing in person, by phone, or
                                                                 through the Internet, even after I                                    through the internet, even after I
                                                                 reasonably tried to do so.                                            reasonably tried to do so.
                                              O Active duty. I am currently on active military                      •   Active duty. I am currently on active military
                                                             duty in a military combat zone.                                         duty in a military combat zone.

                                              If you believe you are not required to receive a                      If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a                     briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.                motion for waiver of credit counseling with the court.




  Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                           page 6
           Case 23-60775-TJ23                       Doc 1        Filed 11/01/23 Entered 11/01/23 12:40:32                                       Desc
                                                                petition Page 7 of 11

Debtor 1                                                                                           Case number (if known)
             First Name   Middle Name




Part 6:    Answer These Questions for Reporting Purposes

                                        16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.What kind of debts do                     as "incurred by an individual primarily for a personal, family, or household purpose."
   you have?
                                             O No. Go to line 16b.
                                            ,ErYes. Go to line 17.

                                        16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                             money for a business or investment or through the operation of the business or investment.

                                             O No. Go to line 16c.
                                             U Yes. Go to line 17.

                                        16c. State the type of debts you owe that are not consumer debts or business debts.



17.Are you filing under
   Chapter 7?                                    I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after              Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                       administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                                 U No
    administrative expenses
    are paid that funds will be                  U Yes
    available for distribution
    to unsecured creditors?

19. How many creditors do               gr1-49                                  O 1,000-5,000                               U 25,001-50,000
    you estimate that you               •   50-99                               CI 5,001-10,000                             • 50,001-100,000
    owe?                                U 100-199                               O 10,001-25,000                             O More than 100,000
                                        U 200-999

19. How much do you                     •   $0-$50,000                          •   $1,000,001-$10 million                      $500,000,001-$1 billion
    estimate your assets to             4 .00,001-$100,000                      •   $10,000,001-$50 million                 •   $1,000,000,001-$10 billion
    be worth?                              $100,001-$500,000                    •   $50,000,001-$100 million                • $10,000,000,001-$50 billion
                                        • $500,001-$1 million                   •   $100,000,001-$500 million               O More than $50 billion

zo. How much do you                     ja1 0
                                            - -$50,000                          •   $1,000,001-$10 million                      $500,000,001-$1 billion
    estimate your liabilities              $50,001-$100,000                     Li $10,000,001-$50 million                      $1,000,000,001-$10 billion
    to be?                              •   $100,001-$500,000                   Li $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                        •   $500,001-$1 million                 •   $100,000,001-$500 million               O More than $50 billion
Part 7:    Sign Below

                                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                 correct.
                                        If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                        of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                        under Chapter 7.
                                        If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                        this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                        I request relief    accordance with the chapter of title 11, United States Code, specified in this petition.

                                        I understand       king a false statement, oncealing property, or obtaining money or property by fraud in connection
                                        with a bankr       y case can result ' fi $ up to $250,000, or imprisonment for up to 20 years, or both.
                                        18 U.S. §          2, 1341, 1519



                                            Signatu    of Debtor 1                                           Signature of Debtor 2

                                            Executed on Ii         ol      102.3                             Executed on
                                                        MM        / DD / YYYY                                               MM / DD    / YYYY


  Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                     page 7
           Case 23-60775-TJ23                       Doc 1        Filed 11/01/23 Entered 11/01/23 12:40:32                                     Desc
                                                                petition Page 8 of 11

Debtor 1           ICIUJQnrt6L.                                                                    Case number of kmwn)
             First Name   Middle Name             Last Name




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are
                                        to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                      available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented              knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                                                                                            Date
                                           Signature of Attorney for Debtor                                                MM    /    DD / YYYY




                                           Printed name


                                           Firm name


                                           Number      Street




                                           City                                                            State           ZIP Code




                                            Contact phone                                                  Email address




                                           Bar number                                                      State




  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                        page 8
           Case 23-60775-TJ23                    Doc 1         Filed 11/01/23 Entered 11/01/23 12:40:32                                 Desc
                                                              petition Page 9 of 11

Debtor 1              quicon&
             First Name   Middle Name           Last Name
                                                                                               Case number (if know,0




For you if you are filing this          The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                   should understand that many people find it extremely difficult to represent
attorney                                themselves successfully. Because bankruptcy has long-term financial and legal
                                        consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not                 To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.                 technical, and a mistake or inaction may affect your rights. For example, your case may be
                                        dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                        hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                        firm if your case is selected for audit. If that happens, you could lose your right to file another
                                        case, or you may lose protections, including the benefit of the automatic stay.

                                        You must list all your property and debts in the schedules that you are required to file with the
                                        court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                        in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                        property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                        also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                        case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                        cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                        Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                        If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                        hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                        successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                        Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                        be familiar with any state exemption laws that apply.

                                        Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                        consequences?
                                        UN
                                        PILYes

                                        Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                        inaccurate or incomplete, you could be fined or imprisoned?
                                        U
                                        V/
                                        114     es

                                        Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?


                                        0 Yes. Name of Person
                                                     Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).



                                        By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                        have r d and understood this notice, and I am aware that filing a bankruptcy case without an
                                        attorn may cause me               rights or property if I do not properly handle the case.




                                         Signa re of Debtor 1                                            Signature of Debtor 2

                                        Date                1.1 0        0).3                            Date
                                                            MM DD   /                                                     MM! DD / YYYY

                                        Contact phone        6278- (pact -19                              Contact phone

                                        Cell phone          brig- (0a61- ici4Y                            Cell phone

                                        Email   address-6,04 /MIL 5 at NIQle                             Email address
                                                                                                 C.00.)

  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                   page 9
  Case 23-60775-TJ23          Doc 1     Filed 11/01/23 Entered 11/01/23 12:40:32   Desc
                                      petition Page 10 of 11


                                       LIST OF CREDITORS


Rockdale County Water Resources                            Acct# 415390-220342
P.O. Box 1378
Conyers, GA 30312-1378


Concora Credit                                             Acct# ending in 7880
P.O. Box 4477
Beaverton, Oregon 97076-4477


Mission Lane, LLC                                          Acct# ending in 1902
P.O. Box 105286
Atlanta, GA 30348-5286


PennyMac Loan Services, LLC                                Acct# 8013768536
P.O. Box 30597
Los Angeles, CA 90051-4387


Ally Financial                                             Acct ending in 1037
P.O. Box 382901
Bloomington, MN 55438
              Case 23-60775-TJ23                Doc 1      Filed 11/01/23 Entered 11/01/23 12:40:32                                 Desc
                                                         petition Page 11 of 11
Case Number: 23-60775                          Name: Savage                              Chapter: 13                    Division: Atlanta

Please submit the following original documents to the Court for filing so that the case will proceed timely. Failure to comply may
result in the dismissal of your case.

If filing bankruptcy without an attorney, please read the information regarding Filing Bankruptcy without an Attorney at:
www.uscourts.gov/services-forms/bankruptcy/filing-without-attorney.


El Individual - Series 100 Forms                                                        LIII Non-Individual - Series 200 Forms
Official and Local Bankruptcy Forms are available on the Court's website at:
      www.ganb.uscourts.gov/frequently-used-forms

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                    Petition Deficiencies:
 LI Complete List of Creditors (names and addresses of all creditors)                   LI Last 4 digits of SSN
 D Pro Se Affidavit (signature must be notarized,                                       1=1 Address
 or witnessed by a Court Intake Clerk, accompanied by a picture I.D.)                   LI Statistical Estimates
 1=1 Signed Statement of SSN                                                            1=1 Other:

MISSING DOCUMENTS DUE WITHIN 14 DAYS
El Statement of Financial Affairs                                                                          Case filed via:
1Z Schedules: A/B, C, D, E/F, G, H, I, J                                          El Intake Counter by:
El Summary of Assets and Liabilities                                                  1=1 Attorney
El Declaration About Debtor(s) Schedules                                               El Debtor 678-629-1974
E Attorney Disclosure of Compensation                                                  LI Other:
LI Petition Preparer's Notice, Declaration and Signature (Form 119)               LI Mailed by:
LI Disclosure of Compensation of Petition Preparer (Form 2800)                        LI Attorney
El Chapter 13 Current Monthly Income                                                  E Debtor
171 Chapter 7 Current Monthly Income                                                  D Other:
1=1 Chapter 11 Current Monthly Income
LI Certificate of Credit Counseling (Individuals only)                            E Email [Pursuant to Amended and Restated General
LI Pay Advices (Individuals only) (2 Months)                                      Order 45-2021, this petition was received via email]
    Chapter 13 Plan, complete with signatures (local form)
1=1 Corporate Resolution (Non-Individual Ch. 7 & 11)                                            Histo        of Case Association
                                                                                  Prior cases with       years:
MISSING DOCUMENTS DUE WITHIN 30 DAYS
LI Statement of Intent — Ch.7 (Individuals only)
                                                                                  Signature: !2I    AIUA                          'AA.L1
Ch.11 Business                                                                    Acknowledgmen of receipt of I l. ie              Notice
LI 20 Largest Unsecured Creditors
LI List of Equity Security Holders
1=1 Small Business - Balance Sheet                                                 Intake Clerk:     5efi)          ID Verified       Date:11/1/23
1=1 Small Business - Statement of Operations
LI Small Business - Cash Flow Statement
LI Small Business - Federal Tax Returns


FILING FEE INFORMATION
Online Payment for Filing Fee https://www.ganb.uscourts.gov/online-payments (not for chapter 13 plan payments)
      El Pending Pay.Gov, Paid $ 313.00

                              You may mail documents and filing fee payments (no personal checks or cash accepted) to the address below.
                         All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                                   UNITED STATES BANKRUPTCY COURT
                                                     75 Ted Turner Drive, SW, Room 1340
                                                            Atlanta, Georgia 30303
                                                                404-215-1000
